Order Form (01/2005)
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                             United States District Court, Northern District of Illinois

    Name of Assigned Judge          Joan B. Gottschall         Sitting Judge if Other
       or Magistrate Judge                                      than Assigned Judge

   CASE NUMBER                          12 C 1656                          DATE                      3/22/2012
            CASE                                     Evans vs. NCO Financial Systems, Inc.
            TITLE

  DOCKET ENTRY TEXT

  Status Hearing set for 04/24/12 at 9:30 AM.
  Plaintiff is directed to advise the defendant of the status hearing forthwith. Parties are directed to
  discuss settlement of case, consent to proceed before the Magistrate Judge and a proposed discovery plan.
  See Judge Gottschall’s civil case management information about pretrial case management procedures.
  This information is located on the website: http//www.ilnd.uscourts.gov.


                                                                                                              Docketing to mail notices.




                                                                                        Courtroom Deputy                rj/nnm
                                                                                                  Initials:




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